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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             JONESBORO DIVISION

JIMMY ASHLEY                                                                       PLAINTIFF

v.                                NO. 3:16CV00321 JLH

OTB ACQUISITION, LLC, d/b/a ON THE
BORDER MEXICAN GRILL & CANTINA                                                  DEFENDANT

                                          ORDER

     Pursuant to the notice of voluntary dismissal filed by the plaintiff, this action is hereby

DISMISSED WITH PREJUDICE.

     IT IS SO ORDERED this 30th day of March, 2017.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
